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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                        Hon. Jeffrey Alker Meyer, U.S. District Judge

                               ELECTRONIC FILING ORDER

The Court orders that the parties must file all documents in this case electronically. The
following requirements are imposed:

   1. Counsel must comply with all applicable Federal Rules of Civil Procedure, the District's
      Local Rules and the requirements set forth in the District's CM/ECF Policies and
      Procedures Manual, and any other rules and administrative procedures that implement the
      District's CM/ECF system.

   2. Documents filed electronically must be filed in OCR text searchable PDF format.

   3. For any case in which a party is represented by counsel, counsel must promptly mail or
      deliver to chambers a single courtesy hard copy of any filing, including exhibits,
      attachments, or supporting memoranda of law, if the filing (taken together with those
      exhibits, attachments, or memoranda) exceeds 30 pages in length. All courtesy copies
      must bear the CM/ECF document identification heading on each page. This requirement
      for a courtesy copy applies only to filings by counsel for represented parties and does not
      apply to self-represented litigants.

       When a courtesy copy contains multiple exhibits or appendices, the exhibits or
       appendices should be bound or in a binder, separated by numbered tabs, with a sheet at
       the front of the bound copy or binder indicating which tab corresponds to each exhibit or
       appendix.


                                                                             IT IS SO ORDERED.


                                                     /s/ Jeffrey Alker Meyer
                                                     Jeffrey Alker Meyer
                                                     United States District Judge


                                                                    Last Revised January 15, 2020
